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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
In re                                                          :
                                                               :   Chapter 7
Orly Genger,                                                   :   Case No. 19-13895 (JLG)
                                                               :
                                    Debtor.                    :
---------------------------------------------------------------X
DALIA GENGER,                                                  :
                                                               :
                           Plaintiff                           :
                                                               :
         v.                                                    :   Adv. Pro. No. 20-01010 (JLG)
                                                               :
ORLY GENGER, MICHAEL BOWEN,                                    :
ARIE GENGER, ARNOLD BROSER,                                    :
DAVID BROSER, ERIC HERSCHMANN,                                 :
THE GENGER LITIGATION TRUST,                                   :
ADBG LLC, TEDCO INC., and                                      :
DEBORAH PIAZZA, as chapter 7 Trustee,                          :
                                                               :
                           Defendants.                         :
---------------------------------------------------------------X

                VARIOUS DEFENDANTS’ REPLY AND OPPOSITION
          TO PLAINTIFF DALIA GENGER’S MEMORANDUM OF LAW (A)
        IN OPPOSITION TO MOTIONS TO DISMISS AMENDED COMPLAINT
       AND (B) IN SUPPORT OF CROSS-MOTION FOR SUMMARY JUDGMENT
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TO THE HONORABLE JAMES L. GARRITY JR.,
UNITED STATES BANKRUPTCY JUDGE:

       Defendants Orly Genger (“Orly” or the “Debtor”), Arie Genger (“Arie”), Arnold Broser,

David Broser, The Genger Litigation Trust, ADBG LLC, and Tedco, Inc. (collectively, the

“Defendants”), by and through their respective undersigned counsel, respectfully submit this reply

and opposition to Plaintiff Dalia Genger’s Memorandum of Law in Opposition to Motions to

Dismiss Amended Complaint and in Support of Cross-Motion for Summary Judgment, filed on

July 15, 2020 (the “Opposition”), and respectfully state as follows:

                                PRELIMINARY STATEMENT

       The Opposition fails to establish that this Court should not dismiss the Amended Complaint

as improperly filed, time-barred, for lack of standing, and for failure to state a claim. It simply

sidesteps the numerous dispositive flaws identified in the Motion. In doing so, Dalia ignores the

mountain of evidence against her presented in the Motion. Dalia also ignores her own past

statements under oath that the property at issue “belongs to the Orly Trust and no one else”, and

should be used to “help Orly and our grandchildren build a better life”, instead now claiming that

the same property belongs to Dalia. While the Defendants dispute that testimony regarding the

Orly Trust, Dalia’s ownership positions regarding the property at issue are fundamentally at odds

with one another, and evidence that Dalia’s claims here are baseless and should be dismissed.

       Dalia’s main argument appears to be that prior decisions in third party actions between

Sagi Genger and Orly Genger are somehow binding on the numerous other parties to this action

who were not parties to those proceedings and automatically result in victory for Dalia here. That

is simply not true, and Dalia also mischaracterizes the weight of those decisions.

       For the reasons set forth below and in the Various Defendants’ Motion to Dismiss Dalia

Genger’s Amended Complaint (the “Motion” or “Mot.”), the Court should dismiss the Amended
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Complaint. The Opposition also improperly attempts to cross-move for summary judgment in

violation of the Local Rules of this Court and the Bankruptcy Rules. Because the “cross-motion”

was not filed in accordance with the applicable rules, it is defective and should be denied.

   I.        THE COMPLAINT IS BARRED BY THE STATUTE OF LIMITATIONS

        1.     Where a plaintiff brings a claim for a constructive trust and alleges wrongful

conduct related to the property at issue, the statute of limitations runs from the alleged wrongdoing.

See Murphy v. Morlitz, No. 15-CV-7256 (VSB), 2017 WL 4221472, at *7 (S.D.N.Y. Sept. 21,

2017), aff’d 751 F. App’x 28 (2d Cir. 2018) (finding that the statute of limitations began to run on

the day of the sale of an insurance policy that was being held in trust for the plaintiff). Further, if

the property has been transferred to a third party, the statute of limitations begins to run when a

defendant “convey[s] the property out of the plaintiff’s reach.” Delango v. Delango, 203 A.D.2d

319 (N.Y. 1994); see also Ackerman v. Ackerman, No. 10 CIV. 6773 JGK, 2012 WL 407503, at

*2 (S.D.N.Y. Feb. 9, 2012).

        2.     The Opposition attempts to avoid this clear bar to Dalia’s claims by asserting that

the Complaint does not allege that Orly engaged in wrongful acts relating to the property at issue.

However, the Complaint alleges that under the 2013 Settlement Agreement, Orly improperly

monetized TRI shares that it claims were assigned to the Orly Trust in 2004 as part of the 2004

Divorce Agreement. Thus, putting aside that the Orly Trust was not even a party to the agreement

at issue, the Complaint clearly alleges that Orly somehow monetized and obtained possession of

property that it asserts belonged to another entity, the Orly Trust. It then alleges that Orly

improperly transferred proceeds of that settlement to certain of the other Defendants to frustrate

Dalia’s purported rights.




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         3.        Indeed, the Amended Complaint alleges – under a header entitled “The Fraudulent

Transfers” that “[i]n order to frustrate Dalia’s rights, in 2013 Orly secretly and fraudulently

transferred approximately $17.3 million of the $32.3 million obtained in the 2013 Settlement

Agreement . . . for no consideration or value to Orly.” (Am. Compl. ¶ 39.) It then alleges that

“Orly diverted and misappropriated the proceeds of her monetization of the Rights.” (Am. Compl.

¶ 47.)

         4.        The Opposition attempts to backtrack on these allegations, arguing that Dalia’s

claims did not arise until Orly allegedly repudiated her1 demand, not the date of the transfers she

has alleged to have been fraudulently made by Orly, regardless of when Dalia actually knew of

her claims. Thus, under Dalia’s theory, she could wait another 25 years to make a demand and

then still get the benefit of another six years to file a claim despite the fact that the claim would

then be made over 40 years after the 2004 Divorce Agreement and over 30 years after the 2013

Settlement Agreement. Not surprisingly, the law does not allow for such an absurd result.

         5.        Nevertheless, even if the court finds that the gravamen of the plaintiff’s cause of

action is not based on wrongful acquisition, the statute of limitations then runs from when the

defendant allegedly breached her promise. See Barone v. Barone, 130 A.D.3d 765, 766 (N.Y.

2015). At its core, Dalia’s claim here is that Orly breached her alleged promise to Dalia by

allegedly fraudulent transferring the proceeds of the 2013 Settlement Agreement.

         6.        The Opposition also fails to address why the statute of limitations should not run

from the date of her 2004 Divorce Agreement, as Dalia has conceded in court filings in Orly’s

chapter 7 case that her claim is in the nature of a domestic support obligation. (Motion ¶ 47.)



1
  This “demand” was not a demand from Dalia to Orly but rather a demand from Dalia to Sagi. Sagi then demanded
that Orly indemnify him for one half of the amount demanded from him, not Orly, by Dalia. Sagi’s demand was made
pursuant to a separate contract to which Dalia is not a party. (Am. Compl. ¶¶ 17, 18.)

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Since Dalia’s claims were filed almost sixteen years after her divorce agreement, they were filed

nearly ten years late.

       7.      The Opposition’s equitable tolling argument fails to resuscitate her stale claims. It

is factually and legally inaccurate. Equitable tolling is only available in “‘rare and exceptional

cases’ where ‘extraordinary circumstances prevented a party from timely performing a required

act.’” Daisley v. FedEx Ground Package Sys., Inc., No. 08 CV 4063 JG LB, 2008 WL 5083009,

at *3 (E.D.N.Y. Dec. 1, 2008) (quoting Walker v. Jastremski, 430 F.3d 560, 564 (2d Cir.

2005)), aff'd 376 F. App’x 80 (2d Cir. 2010). That is far from true here.

       8.      Dalia has not identified any extraordinary acts that prevented her from pursuing

these claims. Rather, Dalia did pursue claims to recover the property at issue here, just under

different legal theories and wearing her trustee of the Orly Trust hat. As detailed at length in the

Motion, Dalia has, in her former capacity as trustee of the Orly Trust, been actively litigating

claims relating to the property at issue here from nearly the date on which the 2013 Settlement

Agreement was executed. Her pursuit of the recovery of the same property at issue here shows

that the “claims” have not been concealed from her and that she is not entitled to the rare and

extreme benefit of equitable tolling.

       9.      Dalia was well aware of the 2013 Settlement Agreement as of no later than June

26, 2013. (See Declaration of Jared C. Borriello in Support of Various Defendants’ Motion to

Dismiss Dalia Genger’s Amended Complaint (“Borriello Decl.”), ECF No. 13, Ex. 12 (2013 Dalia

Affidavit) ¶¶ 2-3 (“I was informed that Plaintiff Orly Genger has reached a settlement with the

Trump Group . . .”).) Further, on August 30, 2013, the Delaware Chancery Court entered the so-

ordered Stipulation and Proposed Order of Dismissal whereby Dalia agreed that the Trump Group




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had purchased the Orly Trust’s TRI Shares from TPR for $10.3 million. (See Boriello Decl., ECF

No. 13, Ex. 17 (So-Ordered Stipulation and Proposed Order of Dismissal).)

       10.     Dalia was also already involved in litigation regarding the proceeds of the Orly

Trust shares, which was initiated on November 18, 2013 (the “2013 Action”). See TPR Inv.

Assocs., Inc. v. Pedowitz & Meister LLP, No. 13 CIV. 8243 JFK, 2014 WL 1979932, at *3

(S.D.N.Y. May 15, 2014) (“[T]he parties are fighting over the Proceeds from the sale of the Orly

Trust Shares.”). Therefore, Dalia was well aware in 2013 that property, now alleged to be held for

her benefit, was in dispute. Dalia also filed her Surrogate’s Court turnover proceeding, which

sought to avoid and recover the same property in 2016, and amended her complaint in 2018. (See,

e.g., Borriello Decl., ECF No. 13, Ex. 19.) She filed that case as trustee of the Orly Trust, arguing

that the amounts belonged to the Orly Trust, not her or Orly.

       11.     Moreover, in agreeing to dismiss claims against the Trump Group relating to the

Orly Trust’s TRI shares, Dalia represented to the Delaware Chancery Court that the Trump Group

had paid $10.3 million for the Orly Trust’s TRI shares. (See Borriello Decl., ECF No. 13, Ex. 17.)

As set forth in the Motion, Dalia supported the release of those funds to TPR/Sagi. Yet Dalia has

not sought to impose a constructive trust over those funds, which are the only amounts that have

been paid for the Orly Trust’s TRI shares.

       12.     Despite her active involvement in a variety of litigation described in the Motion

and above, Dalia failed to pursue the constructive trust claim she asserts in this adversary

proceeding during the nearly sixteen years since her divorce and during the almost seven years

after the 2013 Settlement proceeds were paid, proceeds she now alleges belong to her personally

rather than the Orly Trust. Rather, as the Motion provides, she did not assert her constructive trust

claim until October 2019, when she did so for the first time in an objection to the predecessor



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chapter 7 trustee’s motion to approve a settlement relating to those Trump Group settlement

proceeds, seeking to avoid the impact of that settlement by removing funds from the estate.

         13.       Even if the Trump Notes, which Dalia now alleges an interest in, were relevant to

this action, equitable tolling would not be proper. Equitable tolling requires that a plaintiff

“establish that subsequent and specific actions were taken by the defendant, separate from those

that provide the factual basis for the underlying cause of action, and that those subsequent actions

by the defendant somehow kept the plaintiff from timely bringing suit.” Shoreham Hills, LLC v.

Sagaponack Dream House, LLC, 66 Misc. 3d 1231(A) (N.Y. Sup. Ct. 2020) (“[W]hen the alleged

concealment consists of nothing but the defendant’s failure to disclose the wrong committed, New

York courts have held that the defendant is not estopped from pleading the statute of limitations

as a defense.”).

         14.       Here, stripping away all of the rhetoric,2 Dalia alleges that there was a change in

the escrow agent on the Trump Notes and an agreement that subordinated Mr. Herschmann’s valid

secured claim to ADBG’s prior claim as litigation funder. But those Trump Notes were issued in

June 2013. If Dalia thought that she had any entitlement to the Trump Notes by way of her alleged

interest in the TRI shares, she could have raised these claims in the 2013 Action, the very purpose

of which was to determine the ownership of the proceeds in which she now claims to have an

interest. She also could have sought to pursue the claims she did pursue on the Orly Trust’s behalf,

subject to defenses, but failed to do so. Thus, it is puzzling why she now takes the position that

these developments somehow concealed her claims to her. The fact that Mr. Bowen later replaced




2
  Defendants dispute Plaintiff’s factual allegations in the Opposition and in Dalia’s purported Rule 56.1 statement,
which totals five paragraphs. Defendants refer the Court to the detailed factual summary contained in the Motion,
along with the exhibits filed in support of the Motion and the arguments made herein.

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the original escrow agent does not in any way impact the date on which Dalia’s purported claims

arose.

         15.      Accordingly, the Amended Complaint is long time barred and should be dismissed

with prejudice.

   II.         DALIA LACKS STANDING

         16.      For the reasons set forth in the Motion, even if the Amended Complaint was not

time barred by the statute of limitations (which it is), it should nevertheless be dismissed because

Dalia lacks standing to claim a constructive trust or an equitable lien (or the related declaratory

judgment and injunction claims) related to the 2013 Settlement Agreement proceeds because she

has no legal or equitable claim to those proceeds. To meet the burden on standing, a plaintiff

“must allege facts that affirmatively and plausibly suggest that [he or she] has standing to sue.”

Amidax Trading Grp. v. S.W.I.F.T. SCRL, 671 F.3d 140, 145 (2d Cir. 2011) (emphasis added).

The Complaint utterly fails in this respect, and the Opposition ignores these deficiencies, offering

only conclusory statements suggesting anyone who asserts a constructive trust claim has

constitutional standing to do so, regardless of whether she has suffered an actual personal injury,

all while asserting the purported rights of a third party—the Orly Trust—which is impermissible

under the doctrine of prudential standing. As a result, Dalia has failed to establish standing and

the Complaint should be dismissed.

               A. Constitutional Standing

         17.      To meet the constitutional standing requirement, a plaintiff must allege three

necessary and independent elements: (1) actual personal injury, (2) fairly traceable to the

defendant’s allegedly unlawful conduct, and (3) that it is likely to be redressed by the requested

relief. See e.g., In re 1031 Tax Grp., LLC, 439 B.R. 47, 59-60 (Bankr. S.D.N.Y. 2010).



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       18.     As set forth in the Motion, considering that Dalia lacks privity with Orly (her

contract is with Sagi), and possesses no legal or equitable interest in the TRI shares or the proceeds

therefrom—as a result of the 2004 Divorce Agreement, the 2004 Support Agreement, the 2004

Indemnity, or any other agreement—Dalia cannot sufficiently plead that she has suffered any

actual personal injury. (Mot. ¶¶ 60-62.) As stated in the Motion, Dalia’s own prior acts reflect as

much – Dalia sued Sagi, not Orly, for breach of contract, and has pursued her prior litigation on

behalf of the Orly Trust, not herself individually, contending that the 2013 Settlement Agreement

proceeds belong to the Orly Trust, not Orly or Dalia.

       19.     In the Opposition, Dalia incorrectly cites to various cases conferring constitutional

standing upon plaintiffs seeking the imposition of a constructive trust. (See Opp. at 20.) In each

of the cases cited by Dalia, the court declined to impose a constructive trust. In fact, the ruling of

each of the cases is detrimental to Dalia’s claim that she in fact has standing to seek the imposition

of a constructive trust. Nowhere in In re Chowaiki & Co. Fine Art Ltd., 593 B.R. 699, 712 (Bankr.

S.D.N.Y. 2018), does this Court mention that one who merely asserts a constructive trust has

standing to bring a claim. More importantly, this Court refused to impose a constructive trust in

that case, holding that “[t]he Court finds that the Amended Complaint, read in a light most

favorable to Rosen, does not sufficiently plead facts to support a finding of unjust enrichment,

which is the predicate injury for the remedy of a constructive trust.” Id. Furthermore, Dalia cites

McGovern v. Solomon, 466 F. Supp. 2d 554, 557 (S.D.N.Y. 2006), where a daughter brought a

counterclaim seeking to impose a constructive trust on assets transferred inter vivos by her mother

to her sibling at a time when the mother was allegedly incompetent. Those facts are wholly

different than those here. More importantly, in McGovern, this Court similarly refused to impose

a constructive trust. 466 F. Supp. 2d at 557.



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       20.      Dalia also incorrectly cites Gimbel v. Feldman, 1995 WL 500487, *4 (E.D.N.Y.

Aug. 8, 1995), where the court found that the plaintiff had standing to bring an action for a

constructive trust, but yet again did not impose one. In Gimbel, a family sought to recover assets

that they claimed were transferred from their mother, who was deemed to have a diminished

capacity, by fraud and undue influence to their aunt. The Gimbel court’s holding was narrow, as

it noted that it “is also implicit that the equitable doctrine of the constructive trust—which operates

upon a defendant’s promise to the decedent made within a confidential relationship, reliance by

the decedent, and unjust enrichment of the defendant to the detriment of the plaintiffs—conveys

standing to the plaintiffs.” Id. (quoting Tesauro v. Tesauro, 112 N.Y.S.2d 246 (N.Y. Sup. Ct.

1952)). This narrow ruling does not align with the facts of this case, as there was no promise made

by Orly to Dalia, nor is it as flexible in its application as plaintiffs had previously cited. More

importantly, both McGovern and Gimbel do not arise in a bankruptcy context, and, as this Court

states in Chowaiki, “we believe it important to carefully note the difference between constructive

trust claims arising in bankruptcy as opposed to those that do not, as the equities of bankruptcy are

not the equities of the common law.” 593 B.R. at 720 (quoting Superintendent of Ins. for the State

of New York v. Ochs (In re First Central Fin. Corp.), 377 F.3d 209, 218 (2d Cir. 2004)).

             B. Prudential Standing

       21.      Dalia concedes that she had no interest in the TRI shares after the 2004 Divorce

Agreement, as confirmed by the 2008 Final Arbitration Award. (Opp. at 21 (“Since transferring

her interest in the TRI shares pursuant to the 2004 Divorce Agreement (including the 2004

[Support Agreement] and [2004 Indemnity) Dalia has never claimed an interest in the actual TRI

shares.”)). Nevertheless, Dalia asserts “Sagi and Orly granted [Dalia] an interest in the future

monetization of her marital rights to those shares, - i.e., the proceeds.” (See Opp. at 21.) This is a

non sequitur as no such interest was granted by Orly purportedly having agreed to indemnify her

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brother for their mother’s expenses. Dalia’s assertion that “[n]othing in the 2004 Divorce

Agreement prohibits this grant” is irrelevant as no such interest was granted in the first instance.

Furthermore, Dalia’s assertion that Judge Forrest’s finding that other agreements entered

concurrently with the Divorce Agreement were incorporated by reference and that Orly had

monetized her TRI shares in no way grants Dalia an interest in those shares or any purported

proceeds therefrom. No Court has determined that the actual proceeds of the 2013 Settlement

Agreement belong to Orly; rather, the Second Circuit found simply that she received more than a

peppercorn of benefit from the settlement. Also, the Orly Trust, the recipient of the TRI shares

under the 2004 Divorce Agreement, was not even a party to the 2013 Settlement Agreement.

          22.     Dalia’s lack of interest in the TRI shares, and her past repeated assertions that the

proceeds of those shares belong to the Orly Trust, not her or Orly, are fundamentally inconsistent

with her present claim that she is asserting any rights on her own behalf. She is not.

          23.     Dalia also fails to allege how her dressed up avoidance claims are any different

from the claim Sagi Genger is pursuing to avoid and recover the same transfers, or from the claim

that each of the two chapter 7 trustees has informally pursued in Orly’s chapter 7 case. While the

Defendants dispute that the property at issue is avoidable or recoverable under any of these claims,

Dalia fails to allege how her claims are personal to her as opposed to all creditors of Orly’s estate.

As her claims are generalized rather than particular, she has no prudential standing.

   III.         DALIA FAILS TO STATE A CLAIM FOR A CONSTRUCTIVE TRUST

          24.     The Opposition fails to counter Defendants’ arguments establishing that Dalia has

failed to state a constructive trust claim. In fact, the Opposition confirms that Dalia has failed to

establish any of the elements of such a claim.




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       25.     The Opposition argues that imposition of a constructive trust may be appropriate

notwithstanding the fact that Dalia is asserting her claim in the bankruptcy context. (Opp. at 24.)

However, the Opposition simply ignores the recent, probative Second Circuit cases that

Defendants’ cite in the Motion—namely Superintendent of Insurance for the State of New York v.

Ochs (In re First Central Financial Corp.), 377 F.3d 209 (2d Cir. 2004) and Cadle Co. v. Mangan

(In re Flanagan), 503 F.3d 171 (2d Cir. 2007). In re First Central Financial, in particular, is

instructive because it addressed the one Second Circuit case that the Opposition does cite—In re

Howard’s Appliance Corp. (See Opp. at 24 (citing In re Howard’s Appliances Corp., 874 F.2d

88, 93 (2d Cir. 1989).) In In re First Central Financial, the Second Circuit stated that while it was

not departing from its holding in Howard’s that bankruptcy law does not outright preempt state

law with respect to constructive trusts, it nevertheless “note[d] that [its] obligation to apply New

York constructive trust law [did] not diminish the need to ‘act very cautiously’ to minimize conflict

with the goals of the Bankruptcy Code.” 377 F.3d at 217 (quoting In re N. Am. Coin & Currency,

Ltd., 767 F.2d 1573, 1575 (9th Cir. 1985)). The Second Circuit continued, stating that, in “light

of the fact that these goals can be compromised by the imposition of a constructive trust,

‘bankruptcy courts are generally reluctant to impose constructive trusts without a substantial

reason to do so.’” In re First Central Financial, 377 F.3d at 217-218 (quoting In re Haber Oil

Co., 12 F.3d 426, 436 (5th Cir. 1994) (internal quotation marks and citations omitted)).

       26.     With that general cautiousness and reluctance in mind, Dalia’s complaint fails as a

matter of law to establish that this Court should impose a constructive trust on any of the

Defendants. Although the Opposition spends a page explaining that Dalia need not actually

establish each of the elements of her constructive trust claim (Opp. at 25), the Opposition cites no




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case supporting the proposition that this Court may impose a constructive trust where none of the

elements are met.

       27.     The Opposition fails to establish that any confidential or fiduciary relationship

existed between the Debtor and Dalia. The Amended Complaint includes only the conclusory

allegation that a “confidential and fiduciary relationship of familial trust and confidence existed

between Dalia and her daughter, Orly, when Dalia transferred the Rights to her.” (Am. Compl. ¶

43.) Although the Opposition asserts that family members “often” stand in a fiduciary relationship

with one another, and that a fiduciary duty “may arise” out of a close family relationship (Opp. at

26), the Amended Complaint does not include any factual allegations supporting the conclusion

that that was the case with respect to Dalia and Orly. Such conclusory allegations are insufficient

to withstand a motion to dismiss. See In re Commodore Bus. Machines, Inc., 180 B.R. 72, 79

(Bankr. S.D.N.Y. 1995) (Garrity, J.) (conclusory allegations insufficient to support the imposition

of a constructive trust). Instead, the Opposition merely talks about Dalia’s later confidential and

fiduciary relationship as trustee of the Orly Trust – a clear fiduciary relationship to a beneficiary.

       28.     The Opposition argues that the fact that Dalia allegedly transferred her “marital

claim” to the TRI shares to the Orly Trust “establishes on its face the existence of a confidential

and fiduciary relationship” between Dalia and Orly. (Opp. at 27.) The Court should reject this

circular reasoning, as the alleged transfer, in and of itself, does not establish a confidential or

fiduciary relationship. See Sanxhaku v. Margetis, 151 A.D.3d 778, 779-80 (2d Dep’t 2017)

(“defendant’s intention at the time of the transfer was to provide each of her children with a

residential property in Brooklyn as a gift, and . . . defendant had sufficient means to make such a

transfer and thereafter provide for her own financial needs”). Moreover, even if Dalia transferred

property to the Orly Trust, that would not by itself establish a confidential or fiduciary relationship



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with Orly, who is only a beneficiary of the Orly Trust and who has never herself received any

shares or proceeds from those shares.

         29.      Notably, the Opposition also argues that Dalia transferred her purported marital

rights in the TRI shares in reliance on the supposed relationship, thus dispensing with the need for

Dalia to establish that Orly made any promise to Dalia. (Opp. at 28.) Thus, according to the

Opposition, the single alleged fact that Dalia transferred her purported marital rights to the TRI

shares to a non-debtor trust establishes three of the four elements of the constructive trust claim.

That is simply wrong.

         30.      As the Opposition tacitly admits, the Amended Complaint fails to establish that

Orly made any promise to Dalia. The Opposition suggests that the 2004 “indemnity” agreement

constitutes the necessary promise (Opp. at 27 (arguing that Orly “made an express ‘commitment .

. . to financially support’ Dalia, “based on the writing between the parties” (citation omitted)),

while simultaneously asserting that Orly’s “oral promise is not contained in [the Debtor’s]

executed 2004 indemnity” (Opp. at 28.) The fact is that the indemnity was a promise that Orly

made to Sagi, not to Dalia.

         31.      Furthermore, the Opposition engages in these gymnastics because it simply has no

answer for the fact that Dalia cannot establish unjust enrichment where a contract governs the

relationship that allegedly gives rise to the constructive trust. The Opposition cites a 44-year-old

New York Court of Appeals case, Sharp v. Kosmalski, 40 N.Y.2d 119 (N.Y. 1976), for the

proposition that “New York courts have sanctioned constructive trusts in the wake of an oral or

implied promise and in the absence of a direct claim for breach of contract.” (Opp. at 283.) Sharp




3. The Opposition also cites “Maya, supra” for this proposition, but the Opposition does not otherwise identify or cite
any case with “Maya” in the name, and the Defendants are not aware of any such case that is on point.

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has nothing to do with the “well-settled principle[] of New York law” that “a finding of unjust

enrichment” is barred “in the face of a valid and enforceable written agreement.” In re First

Central Fin., 377 F.3d at 213 (quoting Clark-Fitzpatrick, Inc. v Long Island R.R. Co., 70 N.Y.2d

382 (N.Y. 1987) and MacDraw, Inc. v. CIT Group Equip Fin., Inc., 157 F.3d 956 (2d Cir. 1998)).

Dalia spends a substantial portion of the Amended Complaint discussing “The 2004 Agreements”

(Am. Compl. ¶¶ 15-20), which makes clear that whatever claims Dalia may have against the

Debtor are based in contract, not equity, which claims carry with them a six year statute of

limitations. N.Y. CPLR § 213. The Opposition offers no support for its assertion that this Court

may find that Dalia’s claim is equitable in nature because the 2004 agreements only encompass

the “economic substance” of the Debtor’s purported promise. (Opp. at 28.) It is black letter law

that Dalia cannot simultaneously rely on a claim that there is a valid and enforceable contract

establishing whatever obligations the Debtor might have with respect to Dalia and proceed on an

equitable theory of unjust enrichment. See Miller v. Schloss, 218 N.Y. 400, 407-08 (N.Y. 1916).

       32.     Dalia cannot establish unjust enrichment for a more pressing reason – Orly never

received any money from the 2013 Settlement Agreement. The $10.3 million from the TRI shares

allocated to the Orly Trust went to TPR/Sagi as a result of the 2013 Action. See TPR Investment

Associates, Inc. v. Pedowitz & Meister LLP, No. 13-cv-8243, 2014 WL 1979932, at *23 (S.D.N.Y.

May 15, 2014). While Dalia alleges that Orly “monetized” the Orly Trust’s shares, she relies on

a determination that was later clarified on appeal indicating “her shares would confer upon her

more than a peppercorn, which is all we need to conclude (and all we do conclude) as to the extent

of any benefit she received.” Genger v. Genger, 663 F. App’x 44, 49 (2d Cir. 2016) (emphasis

added). That decision and a subsequent decision allowing Sagi to enforce the 2004 Indemnity




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against Orly make no mention about whether Orly ever received or is entitled to any funds resulting

from the 2013 Settlement Agreement. See Genger v. Genger, 771 F. App’x 99 (2d Cir. 2019).

        33.    The Opposition also has no answer for the fact that the Amended Complaint fails

to allege that Dalia transferred anything to Orly in reliance on any promise. This is because, as

discussed above, Orly made no promise to Dalia, the Orly Trust, not Orly, received the TRI shares

at issue, and under the plain language of the 2004 Divorce Agreement and 2008 Arbitration Award,

Dalia had no further interest in any TRI shares post-divorce. Dalia swore in a February 20, 2015

Affidavit that Dalia filed with the New York Supreme Court that she and Arie “established the

Orly Trust . . . to improve our daughter’s, and also specifically our grandchildren’s (hopefully her

kids’), lives.” (Declaration of Jared C. Borriello in Support of Various Defendants’ Reply and

Opposition to Plaintiff Dalia Genger’s Memorandum of Law in Opposition to Motions to Dismiss

Amended Complaint and in Support of Cross-Motion for Summary Judgment (“Borriello Reply

Decl.”), Ex. 1 (Feb. 20, 2015 Affidavit of Dalia Genger) ¶ 6.) Dalia did not assert that she had

only transferred her “marital claim” to the TRI shares to the Orly Trust because the Debtor

promised to simply return any proceeds from those rights to Dalia upon request. Rather, Dalia

swore that the 2013 Settlement “funds should be used for what [she and Arie] intended—financing

education, improving health, and generally helping Orly and our grandchildren build a better life.”

(Id.)

        34.    Dalia also swore in the 2015 Affidavit that the 2013 Settlement “money belongs to

the Orly Trust and no one else.” (Boriello Reply Decl., Ex. 1 ¶ 3.) Dalia cannot now take a

position “clearly inconsistent” with what she swore to the New York Supreme Court, and claim

that the 2013 Settlement belonged to her all along. Intellivision v. Microsoft Corp., 484 F. App’x

616, 619 (2d Cir. 2012) (quoting New Hampshire v. Maine, 532 U.S. 742, 743 (2001)). Even if



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Dalia is not judicially estopped from arguing that the Debtor has been unjustly enriched, Dalia

certainly cannot seek the equity of an unjust enrichment finding where she has previously taken

the opposite position in a sworn affidavit. See Aris-Isotoner Gloves, Inc. v. Berkshire Fashions,

Inc., 792 F. Supp. 969, 969-70 (S.D.N.Y. 1992) (denying equity where party made sworn

statements that directly contradict each other)

         35.     The Opposition thus fails to establish that the Amended Complaint states a claim

for a constructive trust, and this Court should dismiss that claim.

   IV.         DALIA’S DECLARATORY JUDGMENT CLAIM SHOULD BE DISMISSED

         36.     The Opposition presents no argument why this Court should issue a declaratory

judgment.       The declaratory judgment claim suffers from the same fatal flaws as Dalia’s

constructive trust claims—i.e., it is barred by the applicable statute of limitations, Dalia lacks

standing to assert it, and Dalia fails to state a claim. This Court may also dismiss Dalia’s

declaratory judgment claim because, as Defendants argued in their Motion, Dalia’s declaratory

judgment “claim” is entirely duplicative of Dalia’s constructive trust claim. See Restatement

(Second) of Judgments § 33 (1982) (“A litigant’s seeking a declaratory remedy when he could

have maintained a conventional action for coercive relief often signifies that he is in a quandary

not only as to what his rights and duties are, but also as to how to secure their adjudication.”); see

also Walsh v. Andorn, 33 N.Y.2d 503, 507 (N.Y. 1974) (“Where there is no necessity for resorting

to the declaratory judgment[,] it should not be employed.”); Apple Records, Inc. v. Capitol

Records, Inc., 137 A.D.2d 50, 53 (1st Dep’t 1988) (“A cause of action for a declaratory judgment

is unnecessary and inappropriate where the plaintiff has an adequate, alternative remedy in another

form of action.”).




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   V.          DALIA’S EQUITABLE LIEN CLAIM SHOULD BE DISMISSED

         37.     The Opposition also ignores the Defendants’ argument that this Court dismiss

Dalia’s equitable lien claim as barred by the statute of limitations and for lack of standing. The

Court should therefore dismiss the equitable lien claim on those grounds.

         38.     The Opposition argues that the “Rights” or the “monetization of the Rights”

constitute the “specific property” upon the lien should be imposed. The Opposition offers

absolutely no support for the argument that “rights” meet the definition of “specific property,” and

they do not. The Opposition cites James v. Alderton Dock Yards, Ltd., 256 N.Y. 298, 303 (N.Y.

1931) in support of the argument that the “rights” at issue here “fit[] well within” the equitable

lien doctrine. (Opp. at 32.) To the contrary, Alderton rejected the imposition of an equitable lien

on the proceeds of a sale because an agreement “to pay a debt out of a designated fund does not

give an equitable lien upon the fund nor operate as an equitable assignment thereof.” Alderton,

256 N.Y. at 303.

         39.     The Opposition also fails to establish that the Amended Complaint adequately

alleges the requisite “clear intent” that the specific property at issue act as security for any

obligation. East 51st Street Dev. Co. v. HFZ East 51, LLC, No. 652135/3016, 2019 WL 6916089,

at *8-9 (N.Y. Sup. Ct. Dec. 19, 2019) (dismissing equitable lien claim where plaintiffs failed to

allege that there was any express or implied agreement that the property at issue was to be held as

security for the obligations defendants allegedly owed to plaintiffs) (citing Ryan v. Cover, 75

A.D.3d 502, 502 (N.Y. 2010)). The Court should therefore dismiss Dalia’s equitable lien claim.

   VI.         DALIA’S REQUEST FOR AN INJUNCTION SHOULD BE DENIED

         40.     The Opposition also ignores entirely the Motion’s argument that this Court should

reject Dalia’s request for an injunction. (Mot. ¶ 82.) Dalia thus offered no argument whatsoever

that she will suffer irreparable harm or that she is likely to succeed on the merits. See Freedom

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Holdings, Inc. v. Spitzer, 408 F.3d 112, 114 (2d Cir. 2005). This Court should therefore reject

Dalia’s request for an injunction.

    VII.      DALIA’S AMENDED COMPLAINT WAS IMPROPERLY FILED AND ANY
              AMENDMENT TO THE COMPLAINT WOULD BE FUTILE

        41.     The Opposition also fails to substantively respond to Defendants’ argument that the

Court should dismiss the Amended Complaint because Dalia failed to either seek leave from the

Court or the consent of the Defendants prior to filing. (Mot. ¶ 84.) The Opposition asserts that

Dalia amended the complaint “as of right,” (Opp. at 33), but provides no explanation why this

Court should consider the amendment where Dalia filed the Amended Complaint more than 21

days after service of the original and never sought any Defendant’s consent or this Court’s leave.

        42.     The Opposition similarly ignores Defendants’ argument that repleading would be

futile. (Mot. ¶¶ 86 & 87.) Not only are Dalia’s lack of standing and the statute of limitations

absolute, non-curable bars to her claims, she also will be unable to cure the fact that her

constructive trust claim is actually either a fraudulent transfer claim based on the 2013 Settlement

Agreement, or a contract claim that relies on the 2004 Agreements.

        43.     Moreover, Dalia has been party to years of litigation with Orly and Arie and thus

has had the benefit of extensive discovery.

        44.     This Court should thus deny Dalia’s perfunctory request for leave to file a second

amended complaint.

    VIII. DALIA’S CROSS-MOTION FOR SUMMARY JUDGMENT IS
          PROCEDURALLY IMPROPER AND SHOULD BE DENIED

        45.     On July 15, 2020, Dalia’s Opposition was accompanied by an untimely cross-

motion for summary judgment noticed for hearing at the July 21, 2020 hearing on Defendants’

motions to dismiss. However, Dalia’s request is procedurally improper because she has failed to

cite to any authority indicating that she is permitted to file such a cross-motion without first seeking

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a pre-motion conference in accordance with Local Bankruptcy Rule 7056-1 or that such a cross-

motion can be heard on six days’ notice. Defendants are aware of no such authority. Accordingly,

Dalia’s motion for summary judgment should be denied on this basis alone.

         46.       Local Bankruptcy Rule 7056-1 provides, in relevant part, that “[u]nless the Court

orders otherwise, no party shall file a motion for summary judgment without first seeking a pre-

motion conference. The request for a pre-motion conference shall be made by letter, filed with the

Court, on the docket of the case, and served on all other parties setting forth the issues to be

presented in the motion and the grounds for relief.” L. Bankr. R. 7056-1(a). Here, the Court did

not order otherwise because Dalia never sought a pre-motion conference by letter in accordance

with the Local Rules.4 Dalia’s “cross-motion” is thus procedurally deficient and should be denied

because she failed to comply with Local Rule 7056-1. See In re Bernard L. Madoff Inv. Sec. LLC,

No. 08-01789 BRL, 2012 WL 892514, at n.5 (Bankr. S.D.N.Y. Mar. 14, 2012) (“[a]s a threshold

issue, [movant’s] Motion is procedurally deficient because it violates the Case

Management Order...and Local Rule 7056–1. Specifically, [the movant] failed to (i) obtain

leave of the Court before making a pre-discovery motion for summary judgment, and (ii)

seek a pre-motion conference prior to moving for summary judgment . . . .”)

         47.       In addition, Bankruptcy Rule 7056 provides that “any motion for summary

judgment must be made at least 30 days before the initial date set for an evidentiary hearing on




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  The Defendants meant no disrespect to the Court whatsoever by stating in a letter dated July 17, 2020 (ECF No. 21)
that they did not intend to address substantive deficiencies with Dalia’s “cross-motion” unless the Court ordered
otherwise, and apologize sincerely if the letter was interpreted differently than was intended. The Defendants were
simply trying to bring to the Court’s attention that the “cross-motion” was not properly filed because the Court had
not “ordered otherwise” as such phrase is referenced in Local Rule 7056-1(a) and Bankruptcy Rule 7056. That same
requirement must be met pursuant to Local Rule 5070-1 (“Unless the court orders otherwise, prior to serving a motion,
cross-motion, or application, the moving party must obtain a return date from the assigned Judge’s chambers.”)
(Emphasis added). While we do not know whether Dalia complied with Local Rule 5070-1 here, we suspect that she
did not given the improper notice period.

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any issue for which summary judgment is sought, unless a different time is set by local rule or the

court orders otherwise.” Fed. R. Bankr. P. 7056; Shovlin v. Klaas, 555 B.R. 500, 506 (W.D. Pa.

2016) (explaining that FRBP 7056 dictates that Rule 56 of the Fed. R. Civ. P. applies in adversary

proceedings, with the exception that a motion for summary judgment is required to be submitted

30 days prior to the initial date set for an evidentiary hearing on any issue for which summary

judgment is sought); In re Servo Corp. of Am., Inc., No. 12-76993-AST, 2015 WL 756651, at *3

(Bankr. E.D.N.Y. 2015) (reiterating the exception to Rule 56 that under Bankruptcy Rule 7056,

any motion for summary judgment must be filed 30 days before the date set for the relevant

evidentiary hearing). Dalia also failed to comply with this rule by filing the cross motion a mere

six days – not 30 days – before the July 21st evidentiary hearing on the Motion. Accordingly,

Dalia’s cross-motion should be denied on this procedural basis alone.

       48.     In any event, Dalia’s motion should be denied because it is extremely premature.

The Opposition acknowledges as much, arguing just two paragraphs earlier that Dalia should be

granted leave to amend her already amended complaint because “issue has not been joined,

substantive discovery has not commenced and the case is still in its earliest stage” (Opp. at 33.)

Many of the Defendants have not had the benefit of the years of discovery that Dalia has had, and

as the Court is aware, Dalia is seeking to evade her own deposition in the main chapter 7 case here.

To the extent the Motion is denied, the Defendants should have the benefit of discovery prior to

any motion by Dalia for summary judgment.

       49.     Because the “cross-motion” violates the Local Rules and the Bankruptcy Rules, it

is procedurally defective and therefore void. Should the Court deny the movants’ motions to

dismiss this adversary proceeding, which it should not, it can then consider a request by Dalia to

seek summary judgment in accordance with the Bankruptcy Rules and Local Rules. But any such



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motion must be made in accordance with the applicable rules, and should be subject to full and

proper notice and the corresponding time period for Defendants to file objections.

       50.     Accordingly, the Defendants hereby reserve all rights, claims and defenses relating

to the “cross-motion’s” substantive deficiencies. However, summary judgment could never be

granted in Dalia’s favor because Dalia has previously submitted sworn testimony that the property

over which she now seeks a constructive trust – because it allegedly belongs to her – instead

“belongs to the Orly Trust and no one else.” (See Borriello Reply Decl., Exhibit 1 ¶ 3). That same

affidavit makes clear that Dalia intended the property to be used by Orly and Dalia’s grandchildren,

not Dalia. (Id. ¶ 6 (“These funds should be used for what we intended – financing education,

improving health, and generally helping Orly and our grandchildren build a better life.”).) While

Defendants dispute the contention that the proceeds of the 2013 Settlement Agreement belong to

the Orly Trust, it is directly inconsistent with Dalia’s amended complaint.

       51.     The “cross-motion” also fails as a matter law for the reasons set forth in the Motion,

the supporting exhibits, the reasons stated above (including but not limited to Dalia’s

mischaracterization of the court opinions on which she relies for her “cross-motion”), including

that Dalia’s action should be dismissed because it is long time barred, Dalia lacks standing to assert

her claims, and the Complaint fails to sufficiently plead claims for constructive trust or an equitable

lien (or her related declaratory judgment and injunction claims). Accordingly, Dalia’s “cross-

motion” for summary judgment should be denied.

                         JOINDER IN OTHER MOTIONS TO DISMISS

       The Defendants hereby join in any other replies to the Opposition, and any other

defendant’s opposition to Dalia’s cross-motion for summary judgment, to the extent not

inconsistent herewith.



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                                        CONCLUSION

       WHEREFORE, Defendants respectfully request entry of an order dismissing the

Complaint with prejudice, and for such other and further relief as the Court may deem just and

appropriate.

DATED: New York, New York
       July 17, 2020


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